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                                                                                     FILED
                         IN THE UNITED STATES DISTRICT COURT                     August 15, 2024
                                                                              CLERK, U.S. DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                   WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
                                                                                            NM
                                                                           BY: ________________________________
                                                                                                   DEPUTY
 MARIANO OLMOS,                                §
                                               §
            Plaintiff,                         §
                                               §
 v.                                            §               Civil Action No. 5:24-cv-00508-OLG
                                               §
 MIDLAND MORTGAGE, A DIVISION                  §
 OF MIDFIRST BANK,                             §
                                               §
            Defendant.                         §

                         ORDER OF DISMISSAL ON STIPULATION

        The Parties in the above styled and numbered cause of action have filed a Stipulation of

Dismissal with prejudice as to Plaintiffs’ claims, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii).

        It is Ordered that all claims herein and the entire cause asserted by Plaintiffs against

Defendant is dismissed with prejudice.

        It is so ORDERED.

        SIGNED this the 15th day of August 2024.




                                                    ORLANDO L. GARCIA
                                                    UNITED STATES DISTRICT JUDGE




Dismissal                                                                                Page 1 of 1
